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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  WYNDHAM VACATION OWNERSHIP, INC. a                 )
  Delaware corporation; WYNDHAM VACATION             )
  RESORTS, INC., a Delaware corporation,             )
  WYNDHAM RESORT DEVELOPMENT COR-                    )
  PORATION; an Oregon Corporation; SHELL             )
  VACATIONS, LLC, an Arizona limited liability       )   CIVIL ACTION NO.
  company; SVC-WEST, LLC, a California limited       )   8:19-cv-01895-CEH-CPT
  liability company; SVC-AMERICANA, LLC, an          )
  Arizona limited liability company; and SVC- HA-    )
  WAII, LLC, a Hawaii limited liability company,     )
  Plaintiffs,                                        )     STATEMENT IN SUPPORT OF
  v.                                                 )          PRO HAC VICE
  THE MONTGOMERY LAW FIRM, LLC, a Mis-               )         APPEARANCE OF
  souri limited liability company; MONTGOMERY        )       ROBERT M. WARD, ESQ.
  & NEWCOMB, LLC, a Missouri limited liability       )
  company; M. SCOTT MONTGOMERY, ESQ.,                )
  an individual; W. TODD NEWCOMB, ESQ., an           )
  individual; CLS, INC. d/b/a ATLAS VACATION         )
  REMEDIES and also d/b/a PRINCIPAL TRANS-           )
  FER GROUP, a Missouri corporation; ATLAS           )
  VACATION REMEDIES, LLC, a Missouri lim-            )
  ited liability company; PRINCIPAL TRANSFER         )
  GROUP, LLC, a Missouri limited liability com-      )
  pany; JASON LEVI HEMINGWAY, an individ-            )
  ual; MUTUAL RELEASE CORPORATION                    )
  a/k/a 417 MRC LLC, a Missouri limited liability    )
  company; DAN CHUDY, an individual; MAT-            )
  THEW TUCKER, an individual; and CATA-              )
  LYST CONSULTING FIRM LLC, a Missouri               )
  limited liability company,                         )
  Defendants.                                        )


        As directed by the Court’s Order to Show Cause, dated February 21, 2020 (Doc. 249), this

 is the Statement of Robert M. Ward, Esq. in support of continuing his pro hac vice appearance

 before the Court. The Court is respectfully thanked for providing this opportunity to supplement

 the Record.




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            Specifically, and most unfortunately, the abbreviated Record, as set forth in the Show

 Cause Order1, is incomplete. But rather, the actual facts shown on the Security Tape – and, as

 witnessed by attorneys Montgomery and Newcomb – will provide a full and accurate Record.

 (See Declarations, Exhibits A and B).

            In summary, explicit and unambiguous permission -- to remove the subject belt and suit

 trousers -- was given by the Deputy Marshal in charge of the X-ray conveyer system, whilst acting

 within the scope of the Deputy Marshal’s security function duties, and thus having (i) actual au-

 thority, and/or (ii) indicia of authority, to do so.

            The following facts are not in doubt:

     (i)       On January 30, 2020, my clients (Attorneys M. Scott Montgomery and W. Todd New-
               comb) and I entered the Courthouse for purposes of attending a Hearing before Magis-
               trate Judge Tuite in the present Lanham Act case.

     (ii)      My belt could not be removed without removing my trousers -- because (a) the belt was
               wider than the belt-loops; (b) had been installed thereon only by individually compress-
               ing the belt transversely, for its entire length, and for each of the nine (9) belt loops;
               and (c) thus, had been secured tightly and fixedly therewithin. See Fig. 1, infra.




                                                    Fig.1

 1
   “The incident, documented on a Court Facility Incident Report and captured on video by surveil-
 lance cameras, occurred as follows. Ward entered the front screening post, where he was asked for
 his identification and to place all of his belongings in a bin to be screened by the x-ray machine.
 A Court security officer asked Ward to remove his belt and place it into the bin to be screened.
 Ward verbalized disagreement with having to remove his belt, stating that attorneys should not
 have to do that. Ward removed his pants, throwing them into the bin. Ward then walked through
 the walk-through metal detector, took his pants out of the bin, put them back on, and proceeded to
 Magistrate Judge Tuite’s courtroom for the hearing”. (Doc. 249, 2/21/2020, page 2)




                                                        2
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     (iii)      Because this wide-belt could not be removed without first removing my trousers and
                threading the compressed belt individually back-through each of the nine (9) belt
                loops, and for the entire length of the belt, I duly asked for a “hand check” – i.e., a “pat-
                down”2. Although there were several male Deputy Marshals within the security station,
                my reasonable request was refused – and, without explanation.

     (iv)       Next, I asked for permission to remove my trousers together with my belt – i.e., because
                the belt was wider than the belt-loops (see above), and thus was secured tightly there-
                within. In response, the Deputy Marshal in charge of the X-ray machine -- ex-
                pressly and unambiguously -- gave me permission to remove the trousers that
                were holding the belt fast.

     (v)        Whereupon, I (whilst wearing suitable underwear) removed my trousers together with
                the belt, and placed them on the conveyer belt – i.e., to be X-rayed, along with my other
                items.

     (vi)       I then stepped through the magnetometer, put my trousers back-on, and my clients and
                I proceeded together to the elevators to attend the Hearing, called for 2 PM.

     (vii)      At no time did any of this gathering of Deputy Marshals countermand, contradict, crit-
                icize, or otherwise comment-upon the express permission that I had just been unam-
                biguously given to remove my belt together with my trousers.




 2
  As the Court is aware, Deputy Marshal CSOs are required to be former law enforcement person-
 nel.
        Experienced former law enforcement officers, having served in various capacities
        and specialties throughout their careers, comprise the agency’s Court Security Of-
        ficer (CSO) program. These contracted CSOs receive limited deputations as special
        Deputy Marshals and play a vital role in courthouse security. Using security-screen-
        ing systems, CSOs detect and intercept weapons and other prohibited items that
        individuals attempt to bring into federal courthouses. Senior Inspectors, Deputy
        Marshals and CSOs provide security at facilities that house court operations.

             https://www.usmarshals.gov/careers/qualifications.html.

 Wherefore, these Deputy Marshals are (a) mature and responsible adults, and (b) experienced po-
 lice officers. As such, Deputy Marshals are fully acquainted with the ubiquitous procedure of
 “stop-and-frisk”, including the Fourth Amendment standards set forth in Terry v. Ohio, 392 U.S.
 1 (1968).


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                                             CONCLUSION


        Based upon the undeniable facts of record and the prevailing law, the Rule to Show Cause

 should be discharged forthwith, and the same is respectfully solicited.

        If, however, the Rule were not to be discharged without hearing, a Hearing pursuant to the

 legal standards and admonitions of Schlumberger Techs., Inc. v. Wiley, 113 F.3d 1553, 1561 (11th

 Cir. 1997), and Norton v. Tallahassee Mem'l Hosp., 689 F.2d 938, 941 n.4 (11th Cir. 1982), is

 properly requested by your respectful pro hac vice counsel -- inter alia, (i) to examine the “Report”

 of the United States Marshal (which is believed to be materially incomplete), and to cross-examine

 its author; (ii) to cross-examine the several Deputy Marshals; and, (iii) to introduce the subject suit

 trousers and belt into evidence. If such a Hearing is necessary, your petitioner respectfully requests

 that appropriate subpoenae issue to secure the presence of the above persons.

        Suffice it to say that counsel reasonably relied upon the express permission that had been

  given. Suffice it further to say that any implication that this 76+-year old grandfather, with 49-

  years before the Bar, somehow had a salacious intent -- in merely seeking to be on-time for a

  Hearing before Magistrate Judge Tuite – is truly disturbing.

        Your respectful pro hac vice counsel greatly regrets this unfortunate incident, which will

  not be repeated, and continues to trust-in the Court’s judicious, mature, and fair analysis of the

  facts and law, based upon this now more complete Record.

                                                 Respectfully submitted this 6th day of March, 2020,

  /s/ Robert M. Ward                                   Coleman W. Watson
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                                 CERTIFICATE OF SERVICE

         I do hereby certify that a true and correct copy of the foregoing was filed on the date set
 forth hereon electronically via CM/ECF in the United States District Court for the Middle District
 of Florida, with notice and copy of same being electronically served by the Court upon all counsel
 of record.

                                                             /s/ Robert M. Ward

                                                      Attorney for the Lawyer Defendants




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